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 2
 3                                UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5                                                 ***
 6 UNITED STATES OF AMERICA,           )
                                       )
 7             Plaintiff,              )
                                       )
 8 vs.                                 )                 2:14-cr-00321-KJD-NJK-3
                                       )
 9 KEITH WILLIAMS,                     )
                                       )
10             Defendant.              )                         ORDER
   ____________________________________)
11
12                 On May 4, 2015, this Court granted the defense counsel’s Sealed Ex Parte Motion to
13 Withdraw as Counsel and Defendant Keith William’s request that new counsel be appointed, as
14 stated on the record.
15                 Accordingly,
16                 IT IS HEREBY ORDERED that attorney, Todd M. Leventhal, Esq., is APPOINTED
17 as CJA counsel to represent Defendant Keith Williams in place of Kathleen Bliss, Esq. for all future
18 proceedings.
19                 IT IS FURTHER ORDERED that Ms. Bliss shall forward the file to Mr. Leventhal
20 forthwith.
21
                   DATED this 6th day of May, 2015.
22
23                 NUNC PRO TUNC DATE: May 4, 2015
24
25                                                       _____________________________________
                                                         NANCY J. KOPPE
26                                                       UNITED STATES MAGISTRATE JUDGE
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